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Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 2 of 158 PageID #: 3435
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 3 of 158 PageID #: 3436
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 4 of 158 PageID #: 3437
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 5 of 158 PageID #: 3438
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 6 of 158 PageID #: 3439
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 7 of 158 PageID #: 3440
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 8 of 158 PageID #: 3441
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 9 of 158 PageID #: 3442
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 10 of 158 PageID #: 3443
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 11 of 158 PageID #: 3444
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 12 of 158 PageID #: 3445
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 13 of 158 PageID #: 3446
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 14 of 158 PageID #: 3447
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 15 of 158 PageID #: 3448
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 16 of 158 PageID #: 3449
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 17 of 158 PageID #: 3450
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 18 of 158 PageID #: 3451
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 19 of 158 PageID #: 3452
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 20 of 158 PageID #: 3453
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 21 of 158 PageID #: 3454
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 22 of 158 PageID #: 3455
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 23 of 158 PageID #: 3456
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 24 of 158 PageID #: 3457
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 25 of 158 PageID #: 3458
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 26 of 158 PageID #: 3459
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 27 of 158 PageID #: 3460
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 28 of 158 PageID #: 3461
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 29 of 158 PageID #: 3462
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 30 of 158 PageID #: 3463
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 31 of 158 PageID #: 3464
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 32 of 158 PageID #: 3465
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 33 of 158 PageID #: 3466
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 34 of 158 PageID #: 3467
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 35 of 158 PageID #: 3468
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 36 of 158 PageID #: 3469
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 37 of 158 PageID #: 3470
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 38 of 158 PageID #: 3471
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 39 of 158 PageID #: 3472
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 40 of 158 PageID #: 3473
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 41 of 158 PageID #: 3474
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 42 of 158 PageID #: 3475
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 43 of 158 PageID #: 3476
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 44 of 158 PageID #: 3477
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 45 of 158 PageID #: 3478
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 46 of 158 PageID #: 3479
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 47 of 158 PageID #: 3480
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 48 of 158 PageID #: 3481
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 49 of 158 PageID #: 3482
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 50 of 158 PageID #: 3483
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 51 of 158 PageID #: 3484
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 52 of 158 PageID #: 3485
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 53 of 158 PageID #: 3486
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 54 of 158 PageID #: 3487
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 55 of 158 PageID #: 3488
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 56 of 158 PageID #: 3489
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 57 of 158 PageID #: 3490
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 58 of 158 PageID #: 3491
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 59 of 158 PageID #: 3492
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 60 of 158 PageID #: 3493
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 61 of 158 PageID #: 3494
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 62 of 158 PageID #: 3495
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 63 of 158 PageID #: 3496
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 64 of 158 PageID #: 3497
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 65 of 158 PageID #: 3498
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 66 of 158 PageID #: 3499
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 67 of 158 PageID #: 3500
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 68 of 158 PageID #: 3501
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 69 of 158 PageID #: 3502
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 70 of 158 PageID #: 3503
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 71 of 158 PageID #: 3504
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 72 of 158 PageID #: 3505
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 73 of 158 PageID #: 3506
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 74 of 158 PageID #: 3507
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 75 of 158 PageID #: 3508
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 76 of 158 PageID #: 3509
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 77 of 158 PageID #: 3510
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 78 of 158 PageID #: 3511
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Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 80 of 158 PageID #: 3513
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Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 82 of 158 PageID #: 3515
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 83 of 158 PageID #: 3516
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 84 of 158 PageID #: 3517
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Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 88 of 158 PageID #: 3521
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Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 90 of 158 PageID #: 3523
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 91 of 158 PageID #: 3524
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 92 of 158 PageID #: 3525
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 93 of 158 PageID #: 3526
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 94 of 158 PageID #: 3527
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 95 of 158 PageID #: 3528
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 96 of 158 PageID #: 3529
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 97 of 158 PageID #: 3530
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 98 of 158 PageID #: 3531
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 99 of 158 PageID #: 3532
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 100 of 158 PageID #: 3533
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 101 of 158 PageID #: 3534
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 102 of 158 PageID #: 3535
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 103 of 158 PageID #: 3536
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 104 of 158 PageID #: 3537
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 105 of 158 PageID #: 3538
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 106 of 158 PageID #: 3539
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 107 of 158 PageID #: 3540
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 108 of 158 PageID #: 3541
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 109 of 158 PageID #: 3542
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 110 of 158 PageID #: 3543
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 111 of 158 PageID #: 3544
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Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 113 of 158 PageID #: 3546
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 114 of 158 PageID #: 3547
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 115 of 158 PageID #: 3548
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 116 of 158 PageID #: 3549
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 117 of 158 PageID #: 3550
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 118 of 158 PageID #: 3551
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 119 of 158 PageID #: 3552
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 120 of 158 PageID #: 3553
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 121 of 158 PageID #: 3554
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 122 of 158 PageID #: 3555
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 123 of 158 PageID #: 3556
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 124 of 158 PageID #: 3557
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 125 of 158 PageID #: 3558
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 126 of 158 PageID #: 3559
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 127 of 158 PageID #: 3560
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 128 of 158 PageID #: 3561
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 129 of 158 PageID #: 3562
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 130 of 158 PageID #: 3563
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 131 of 158 PageID #: 3564
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 132 of 158 PageID #: 3565
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 133 of 158 PageID #: 3566
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 134 of 158 PageID #: 3567
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 135 of 158 PageID #: 3568
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 136 of 158 PageID #: 3569
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 137 of 158 PageID #: 3570
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 138 of 158 PageID #: 3571
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 139 of 158 PageID #: 3572
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Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 142 of 158 PageID #: 3575
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 143 of 158 PageID #: 3576
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Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 146 of 158 PageID #: 3579
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 147 of 158 PageID #: 3580
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 148 of 158 PageID #: 3581
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Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 153 of 158 PageID #: 3586
Case: 1:16-cv-00095-DMB-DAS Doc #: 257-8 Filed: 04/13/22 154 of 158 PageID #: 3587
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